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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

   Amazon.com Inc. and Amazon Data Services, Inc.,
                  Plaintiffs,
          v.
   WDC Holdings LLC dba Northstar Commercial Partners            Case No. 1:20-CV-484-LO-TCB
   et al.,
                  Defendants.

   800 Hoyt LLC,
                  Intervening Interpleader Plaintiff /
                  Intervening Interpleader Counter-
                  Defendant,
          v.
   Brian Watson et al.,
                  Interpleader Defendants,
          and
   Amazon.com Inc. and Amazon Data Services, Inc.,
                  Interpleader Defendants / Interpleader
                  Counter-Plaintiffs.


    REPLY IN SUPPORT OF BRIAN WATSON’S MOTION TO COMPEL NON-PARTY
         IPI PARTNERS, LLC’S COMPLIANCE WITH RULE 45 SUBPOENA

         IPI Partners, LLC (“IPI”) is not a disinterested bystander to this case and does not contest

  its central role in the events giving rise to the parties’ dispute. Although IPI is not a party to the

  present litigation, IPI was Defendants’ joint-venture partner and now is, effectively, their

  successor-in-interest with respect to the property transactions at the heart of this case—a case

  involving transactions so substantial that the purported kickbacks alone are alleged to be worth

  tens of millions of dollars. Couching its response to the present Motion to Compel in absolute
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  terms—citing production figures that, if anything, are extraordinarily low for cases of this size, see

  Opp. at 10—IPI suggests that the proper measure of its compliance with Watson’s Subpoena is

  not relevance and proportionality but the hard number of documents and pages it has produced to

  date in response to the subpoena Watson issued on January 22, 2022 (the “Subpoena”). But under

  the Federal Rules of Civil Procedure, parties may obtain discovery “regarding any nonprivileged

  matter that is relevant to any party’s claim or defense and proportional to the needs of the case.”

  Fed. R. Civ. P. 26(b)(1); see also Fed. R. Civ. P. 34(a) (“A party may serve on any other party a

  request within the scope of Rule 26(b)”); Castle v. Jallah, 142 F.R.D. 618, 620 (E.D. Va. 1992)

  (“[T]he scope of discovery from a nonparty by means of a subpoena duces tecum under Rule 45 is

  coextensive with that of a motion for production from a party under Rule 34.”).

         Here, the Court should not countenance the unilateral limitations that IPI has set for itself

  in responding to the Subpoena. Watson’s Motion to Compel identifies three ways in which IPI’s

  Subpoena responses are deficient—namely, IPI’s unilaterally imposed end date is not a proper

  limitation in light of IPI’s ongoing relationship with Amazon in connection with the transactions

  at issue here, IPI is improperly withholding responsive materials simply because they were also

  delivered at one time to at least one of the parties, and IPI has no grounds for withholding lease

  materials that are plainly relevant to Amazon’s theory of damages in this case. In light of these

  deficiencies, Watson respectfully requests that this Court grant his Motion to Compel and require

  IPI to supply comprehensive materials in response to the Subpoena. 1




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    To the extent that IPI’s opposition suggests that counsel for Watson did not engage in good-faith
  discussions regarding the scope of the Subpoena and IPI’s responses thereto, the opposition and
  supporting declaration show that the parties discussed the limitations that IPI proposed on multiple
  occasions before the Motion to Compel was filed. As demonstrated in IPI’s materials, counsel for
  Watson explained Watson’s interest in the documents that IPI is now withholding and also agreed
  to certain limitations on IPI’s response. See Opp. at 8-9; Decl. of Charles C. Connolly, Ex. B (Dkt.


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  I.     LEGAL STANDARD

         “Discovery under the Federal Rules of Civil Procedure is broad in scope and freely

  permitted.” CareFirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 402 (4th Cir.

  2003). Rule 26 sets forth the courts’ approach to discovery matters, including as to third-party

  subpoenas: “Parties may obtain discovery regarding any nonprivileged matter that is relevant to

  any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

  Requests for documents need not name specific documents, or even specific categories of

  documents; rather, the courts define “relevance” broadly. This Court recently wrote, “A request

  for discovery ‘should be considered relevant if there is any possibility that the information sought

  may be relevant to the subject matter of the action.’” Deutsche Bank Nat’l Trust Co. v. Fegely,

  No. 3:16-cv-00147, 2020 WL 201048 (E.D. Va. Jan. 13, 2020) (emphasis added) (quoting In re

  Folding Carton Antitrust Litig., 83 F.R.D. 251, 254 (N.D. Ill. 1978)).

         Furthermore, documents relating to “claims or defenses raised in a given action” are

  relevant, and therefore discoverable, even if they are “not directly pertinent to the incident in suit.”

  Fed. R. Civ. P. 26 advisory committee’s note to 2000 amendment. More specifically, courts

  routinely grant discovery of information related to damages. See Nat’l Cmty. Reinvestment

  Coalition v. NovaStar Fin., Inc., No. 07-cv-00861, 2009 WL 10719757, at *2 (D.D.C. July 13,

  2009) (compelling production of detailed information on damages allegedly sustained); see also 8

  Wright et al., Federal Practice & Procedure § 2008.4 (3d ed.) (“As a general matter, it is clear that

  discovery as to damages is proper.”).




  665-2) at 2. Counsel for IPI declined to adjust its position on any of the occasions the parties
  discussed the Subpoena.


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         In addition, the cost inherent to reviewing materials in preparation for responding to a

  subpoena does not justify withholding responsive material. “The mere fact that responding to a

  discovery request will require the objecting party ‘to expend considerable time, effort and expense

  consulting, reviewing and analyzing huge volumes of documents and information is an insufficient

  basis to object’ to a relevant discovery request.” Deutsche Bank Nat’l Trust Co. v. Fegely, No.

  3:16-cv-00147, 2020 WL 201048, at *6 (E.D. Va. Jan. 13, 2020) (quoting Burns v. Imagine Films

  Entm’t, Inc., 164 F.R.D. 589, 593 (W.D.N.Y. 1996)).

  II.    ARGUMENT

         First, IPI should not be permitted to withhold documents that include the parties—

  particularly Amazon—on the top-line message. 2 Watson has cited substantial precedent for the

  proposition that a responding party is not excused from producing responsive documents if the

  requesting party already possesses certain of them. See Memo. in Support of Mot. to Compel

  (“Memorandum”) at 10; see Rivers v. Asplundh Tree Expert Co., No. 5:08cv61, 2008 WL

  5111300, at *4 (N.D. Fla. Dec. 3, 2008) (“[T]he fact that [a party’s counsel] may already possess

  . . . some of the documents and information in [certain] discovery requests . . . does not excuse the

  [responding party’s] failure to fully respond to the discovery requests.”). In response, IPI quotes

  the Fourth Circuit’s decision in Va. Dep’t of Corrections v. Jordan, 921 F.3d 180, 189 (4th Cir.




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    Counsel for Watson and counsel for IPI discussed whether the Subpoena called for the production
  of documents possessed by IPI’s law firm, Akin Gump, and Watson’s counsel agreed that IPI need
  not produce documents for which the custodian is an Akin Gump attorney. Counsel for Watson
  understood those documents to be communications between IPI and its counsel, which would
  generally constitute privileged material and potentially add significant labor to the review process.
  Watson would like to clarify that the Subpoena does require production of communications
  between Akin Gump and parties other than IPI, including communications between Amazon and
  its counsel, as these would generally not be covered by attorney-client privilege. Counsel
  recognizes the inconsistency in its statements on this matter; however, having reserved rights with
  respect to the Subpoena, counsel for Watson now reasserts the request for such documents.


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  2019), which states that a “requesting party should be able to explain why it cannot obtain the

  same information, or comparable information that would also satisfy its needs, from one of the

  parties to the litigation.” Opp. at 14.

          First, as IPI notes in its Opposition, see Opp. at 7, counsel for Watson told counsel for IPI

  that Watson needed relevant emails on which an Amazon employee was included in the top-line

  message because Amazon had produced very little discovery to that point and may have destroyed

  much of the relevant evidence pursuant to its document-retention policy.

          Watson has explained why certain materials are unavailable from other sources. As stated,

  Amazon has disclosed a document retention policy according to which most documents are

  destroyed within weeks or months after they are created. See Memorandum at 11. In other words,

  Amazon (the only party that ever possessed many of the documents IPI now seeks to withhold)

  destroys documents as a matter of policy. 3 Watson has noted this policy to IPI’s counsel and

  described in the Motion to Compel the practical implications of Amazon’s policy that have already

  emerged in this litigation. See id. at 11 n.2. Accordingly, with respect to a substantial portion of

  the documents as issue, Watson has “explain[ed] why it cannot obtain [certain] information . . .

  from one of the parties to the litigation.” 4

          Beyond that, Watson is not in a position to identify the relevant records IPI possesses.

  When seeking categories of material—as opposed to specific documents—requesting parties

  naturally cannot describe certain responsive materials in specific detail, because the requesting



  3
    If Amazon has, in fact, destroyed post-litigation communications with IPI, that would
  exacerbate or give rise to serious concerns of spoliation.
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    IPI also suggests that Amazon has preserved documents and communications dated after this
  litigation began in April 2020. Given that courts allow the discovery of materials even when they
  are available from other sources, speculation as to whether certain documents are available—
  notwithstanding Amazon’s practice of destroying emails within 30 days of their transmission—
  should not justify IPI’s unilateral decision to withhold Amazon communications after that date.


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  party does not possess those documents. Without knowing what responsive material IPI has,

  Watson cannot determine which, if any, individual documents are available from Amazon.

         IPI also suggests that the Subpoena imposes an undue burden on IPI because it could return

  “information unrelated to the Action.” Opp. at 17. For example, IPI describes a category of

  documents that includes Northstar-related information that is unlikely to be significant in the

  context of this litigation. Opp. at 17. But IPI does not argue that the categories of documents it

  now seeks to withhold are unlikely to contain responsive material; instead, it states that it has

  already produced some responsive material and the documents it seeks to withhold are likely to

  contain non-responsive material. Counsel for IPI has it backwards: Courts do not require discovery

  to be so narrowly tailored as to avoid returning any non-responsive material. E.g., FTC ex rel.

  Yost v. Educare Ctr. Servs., Inc., 2020 WL 4334119, at *6 (W.D. Tex. Apr. 15, 2020) (“[E]ven

  the presence of some irrelevant information interspersed with the relevant information Plaintiff

  seeks does not render the request overbroad.”). Accordingly, responding parties are not excused

  from producing responsive material because it is commingled with non-responsive material.

  Courts assess burden in the context of the “needs of the case.” Fed. R. Civ. P. 26(b)(1). Here, the

  potential for the Subpoena requests to return some amount of non-responsive material does not

  justify the limitations that IPI has unilaterally set for its response and certainly does not justify

  IPI’s refusal to turn over documents that are plainly discoverable. 5

         IPI also asserts that the Subpoena imposes an undue burden by seeking documents dated

  after April 2020, the month during which IPI worked with Amazon to terminate Northstar from



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    If the Court were to determine that the Subpoena requests are overly broad, it should adopt the
  approach of several other courts in narrowing the requests rather than quashing the Subpoena. See
  Stati v. Republic of Kazakhstan, No. 14-civ-1638, 2020 WL 3259244, at *7 (D.D.C. June 5, 2020);
  McDaniel v. Loyola Univ. Medical Ctr., No. 13-cv-6500, 2016 WL 11734768, at *4 (N.D. Ill. Feb.
  9, 2016).


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  the joint venture. IPI states that “[t]he documents in IPI’s possession after April 30, 2020, are

  irrelevant to the issues in the Action.” Opp. at 23. Besides it being unclear how IPI could reach

  that conclusion without reviewing the documents, the parties disagree on this point. Watson has

  already explained why material post-dating that cutoff might be relevant. Memorandum at 9. IPI

  suggests that Watson’s speculation is insufficient to justify further review of documents, but

  Watson does not bear the burden of predicting the substantive contents of documents that are

  responsive to the Subpoena. If that were the standard, much of discovery would be unworkable,

  as requesting parties would need to know what substantive discovery they needed before they

  could discover it. Nor is the responding party the arbiter of what materials are relevant. Goodman

  v. Praxair Services, Inc., 632 F. Supp. 2d 494, 517 n.12 (D. Md. 2009) (“The ultimate decision of

  what is relevant is not determined by a party’s assessment filtered through its own perception of

  self-interest.”). And to the extent IPI views documents dated after April 30, 2020, as wholly

  irrelevant, it is IPI—not Watson—who must specifically detail the reasons why. See, e.g., V5

  Technologies v. Switch, Ltd., 334 F.R.D. 306, 310 (“[T]he party opposing discovery bears the

  burden of showing the disputed discovery is not relevant, a burden that is met by specifically

  detailing the reasons why each request is irrelevant.”).

         In addition, this Court should compel IPI to produce materials concerning all Amazon

  leases; their relevance is plain in the context of Amazon’s claims. IPI contends that lease materials

  not involving Northstar are not relevant to the present case and that producing them would result

  in “great cost” to IPI. Opp. at 20-23. Neither of these reasons justifies IPI’s steadfast refusal to

  produce the requested lease materials.

         First, as noted, the Federal Rules allow for discovery of “[a] variety of types of information

  not directly pertinent to the incident in suit” if it is “relevant to the claims or defenses raised in a




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  given action.” Fed. R. Civ. P. 26 advisory committee’s note to 2000 amendment. In the Second

  Amended Complaint, Amazon asserts that it was defrauded into believing that the lease

  transactions in question were “competitive fair market deals,” Second Am. Compl. ¶ 467, and that

  it suffered damages in light of “inflated and fraudulent transaction costs and non-competitive

  bidding,” id. ¶ 483. It is undisputed that IPI does substantial business in this sector with Amazon

  concerning similar contracts. See, e.g., Opp. at 3. Materials concerning the other leases that

  Amazon has signed would provide evidence of what Amazon believed to constitute a “fair market

  deal” and the product of competitive bidding from Amazon’s perspective.              In light of this

  connection between Amazon’s claims (which are partially based on the leases at issue being more

  expensive than market rates) and the requested materials (which would demonstrate the terms of

  Amazon’s other leases in the area), the requested lease documents are discoverable.

         IPI also states in conclusory fashion that producing these materials would “require[] great

  cost to IPI.” Id. at 22. As IPI has not described the volume of material at issue with respect to this

  request, it appears that producing these documents would not amount to a significant financial

  burden, considering the needs and scope of the litigation. Indeed, IPI should be able to readily

  identify and produce its leases and any sale or similar contracts with Amazon. Such contracts are

  not typically buried in warehouses or difficult to locate.

         Having omitted any description of potential monetary cost, IPI contends that the courts’

  analysis of burden can include consideration of “privacy or confidentiality interests.” Id. at 22

  (quoting Va. Dep’t of Corrections v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019). The Watson

  Defendants do not disagree, but confidentiality concerns already have been addressed by this

  Court. The materials IPI produces in response to the Subpoena are subject to the Protective Order

  entered by the Court on June 4, 2020. Dkt. 55. That Order allows non-parties to designate




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  discovery material as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—OUTSIDE

  ATTORNEYS’ EYES ONLY,” id. at 2-3, and it restricts the use of designated material to “this

  litigation and the preparation and trial in this case, or any related appellate proceeding, and not for

  any other purpose whatsoever,” id. at 4. IPI now asserts that it should not need to produce relevant

  documents for reasons of confidentiality, notwithstanding the fact that counsel for Watson and IPI

  explicitly discussed the issue of confidentiality and agreed that the terms of the Protective Order

  apply to IPI’s documents. See Decl. of Charles C. Connolly, Ex. B (Dkt. 665-2) at 2. IPI has cited

  no evidence, nor is there any, suggesting that Watson or his attorneys intend to violate the Court’s

  Protective Order in this case.

         IPI also asserts, without citation, that the Subpoena amounts to an attempt by Watson to

  “interfere with [IPI’s] private and confidential business interests.” Opp. at 23. Watson’s request

  for discovery from IPI, without more, does not constitute improper interference in commerce.

         Finally, if the Court denies the present Motion, there is no basis for awarding attorneys’

  fees to IPI. Rule 37, which authorizes motions to compel in closely analogous circumstances,

  states that costs are unavailable where a motion is denied but “was substantially justified or other

  circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(B). As IPI’s

  opposition observes, the parties discussed the terms of the Subpoena, Watson agreed to certain

  limitations on IPI’s production, and IPI imposed its own unilateral and internally inconsistent

  restrictions on the Subpoena. The circumstances “substantially justified” the present Motion.

  III.   CONCLUSION

         Accordingly, Mr. Watson respectfully requests that this Court grant his Motion to Compel

  Non-Party IPI Partners, LLC’s Compliance with Rule 45 Subpoena and order IPI to produce

  documents according to the terms of the Subpoena.




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   Dated: April 21, 2022                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on April 21, 2022, I will file the foregoing Reply in Support of Brian
   Watson’s Motion to Compel Non-Party IPI Partners, LLC’s Compliance with Rule 45 Subpoena
   using the Court’s CM/ECF system, whjch will send a notification of electronic filing to all counsel
   of record. I will also e-mail courtesy copies to all counsel and parties listed below and send hard
   copy via U.S. Mail to Mr. Kirschner at the street address shown below:

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   Date: April 21, 2022                                 /s/ Jeffrey R. Hamlin
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